              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT




          DAVID R. HAZELTON AND REBEKAH L. HAZELTON,

                                 Appellants,

                                      v.

                  FISHERMAN'S HAVEN ASSOCIATION, INC.,

                                  Appellee.


                             No. 2D2023-2096



                              August 23, 2024

Appeal pursuant to Fla. R. App. P. 9.130 from the Circuit Court for
Sarasota County; Hunter Carroll, Judge.

Anthony Manganiello, III, of Icard, Merrill, Timm, Furen &amp; Ginsburg,
P.A., Sarasota, for Appellants.

Kevin D. Micale of Ulrich, Scarlett, Watts &amp; Dean, P.A., Sarasota, for
Appellee.

PER CURIAM.

      Affirmed.


CASANUEVA, SILBERMAN, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
